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UNITED S'I`ATES DISTRICT COURT

FOR THE
I)ISTRICT OF DELAWARE
JAMES C. DAY, )
)
Plaintiff )
)
v. ) Case No.:
)
OXFORD MANAGEMENT SERVICES, ) COMPLAINT AND DEMAND FOR
) .¥URY TRIAL
Defendant )
) (Unlawful cht Collection Practices)

 

COMPLAINT
JAMES C. DAY (“Plaintiff”), by his attorneys, KIMMEL & SILVERMAN, P.C., allege

the following against OXFORD MANAGEMENT SERVICES (“Defendant”):

INTRODUCTION

1. This is an action for actual and statutory damages for violations of the Fair Debt

Collection Practices Act (hereinafter the “FDCPA”), 15 U.S.C. §§ 1692, er seq.

JURISDICTION AND VENUE

2. Jurisdiction of this court arises pursuant to 15 U.S.C. § 16921<(<1), which states
that such actions may be brought and heard before “any appropriate United States district court
without regard to the amount in controversy,” and 28 U.S.C. § 1331 grants this court original
jurisdiction of all civil actions arising under the laws of the United States.

3. Det`enciant conducts business in the State of Delaware and therefore, personal
jurisdiction is established

4. Venue is proper pursuant to 28 U.S.C. § 1391(b)(1).

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misleading practices, prohibit harassing and abusive tactics, and proscribe unfair or

 

 

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5. Declaratory relief is available pursuant to 28 U.S.C. §§ 2201 and 2202.

PARTIES

6. Plaintiff is a natural person residing in Wilmington, Delaware, 19808.

'i'. Plaintiff is a “consumer” as that term is defined by 15 U.S.C. § 1692a(3).

8. Defendant is a national debt collection company with corporate headquarters
located at 4180 Okeechobee Road, Fort Pierce, Florida, 34947.

9. Defendant is a “debt collector” as that tenn is defined by 15 U.S.C. § 1692a(6)
and repeatedly contacted Plaintiffs in an attempt to collect a debt.

10. Defendant acted through its agents, employees, officers, members, directors,

heirs, successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers

PRELIMINARY STATEMENT

ll. 'l`he Fair Debt Collection Practices Act (“FDCPA”) is a comprehensive statute,

which prohibits a catalog of activities in connection with the collection of debts by third parties.
w 15 U.S.C. § 1692 et seq. The FDCPA imposes civil liability on any person or entity that
violates its provisions, and establishes general standards of debt collector conduct, defines abuse,
and provides for specific consumer rights 15 U.S.C. § 16921<. The operative provisions of the

FDCPA declare certain rights to be provided to or claimed by debtors, forbid deceitful and

unconscionable conduct, both generally and in a specific list of disapproved practices
12. In partieular, the FDCPA broadly enumerates several practices considered
contrary to its stated purpose, and forbids debt collectors iiom taking such action. 'i`he

substantive heart of the FDCPA lies in three broad prohibitions First, a “debt collector may not

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engage in any conduct the natural consequence of which is to harass, oppress, or abuse any
person in connection with the collection of a debt.” 15 U.S.C. § 1692d. Second, a “debt
collector may not use any false, deceptive, or misleading representation or means in connection
with the collection of any debt.” 15 U.S.C, § l692e. And third, a “debt collector may not use
unfair or unconscionable means to collect or attempt to collect any debt.” 15 U.S.C. § 1692f.
'l`he FDCPA is designed to protect consumers from unscrupulous collectors, whether or not there
exists a valid debt, broadly prohibits unfair or unconscionable collection methods, conduct which
harasses, oppresses or abuses any debtor, and any false, deceptive or misleading statements in
connection with the collection of a debt.

13. In enacting the FDCPA, the United States Congress found that “[t]here is
abundant evidence of the use of abusive, deceptive, and unfair debt collection practices by many
debt collectors,” which “contribute to the number of personal bankruptcies, to marital instability,
to the loss of jobs, and to invasions of individual privacy.” 15 U.S.C. § 1692a. Congress
additionally found existing laws and procedures for redressing debt collection injuries to be
inadequate to protect consumers 15 U.S.C. § 1692b.

14. Congress enacted the FDCPA to regulate the collection of consumer debts by debt
collectors. The express purposes of the FDCPA are to “eliminate abusive debt collection
practices by debt collectors, to insure that debt collectors who refrain from using abusive debt
collection practices are not competitively disadvantaged, and to promote consistent State action

to protect consumers against debt collection abuses.” 15 U.S.C. § l692e.

FACTUAL ALLEGATIONS

15. At all relevant times, Defendant was attempting to collect an alleged consumer

debt from Plaintiff for a GMAC auto loan.
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16. The alleged debt at issue arose out of transactions, which were primarily for
personal, family, or household purposes.

l'i`. On November 25, 2009, Plaintift` contacted GMAC and requested an account
summary, including payments made and unpaid balance. GMAC advised that the balance was
$420.20. Plaintiff immediately sent check #2176 for that amount to GMAC. A true and correct
copy of Plaintiff’s December bank records is attached hereto as Exhibit “A”.

18. On December 8, 2009, after Plaintiff had paid off the loan, GMAC resubmitted an
earlier checl<, #2155 for $360.00. w Exhibit “B”.

l9. On Decen‘tber 10, 2009, Plaintiff received a letter from GMAC congratulating
him for paying off his auto loan and enclosing the Certificate of Title, releasing the lien. A true
and correct copy of the December 10, 2009 letter is attached hereto as Exhibit “C”.

20. Beginning on or around December 15, 2009 and continuing until September
2010, Defendant, its agents, employees, and servants engaged in debt collection activities
seeking payment from Plaintiff of additional amounts

21. Specitically, Defendant and its employee identified as “William Beemdiz”,
harassed Plaintiff in an attempt to collect the alleged debt.

22. Defendant and its employees and servants harassed Plaintiff by making an
extreme number of unfounded collection calls to his home, originating from phone number;
(800) 801 -3 94l. The undersigned has confirmed that this number belongs to the Defendant.

23. On or around September l, 2010, Defendant’s agent “William Beendiz” called
Plaintiff and insisted that Plaintiff still owed $375.00 to GMAC.

24. Plaintifl` was surprised to receive this call, in light of the December 10, 2009 letter

removing the lien and enclosing the Certiiicate of Title.

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25. “William Beendiz” was adamant that GMAC was still owed $3'?5.00.

26. Based upon the claims and threats by “William Beendiz”, Plaintiff felt that he had
no choice but to acquiesce to the demands of Defendant.

2?. Plaintiff told “William Beendiz” that he lacked sufficient funds at that time to
which Beendiz responded that payment of $350.00 immediately would satisfy the debt.

28. Beendiz went on to deceive Plaintiff by claiming that “a lien” had been placed on
the Certificate of Title and that it “was cheaper to get the money from (Plaintift), than to
reposess the automobile.”

29. On September 17, 20l0, Plaintiff called Defendant to explain that his work hours
were cut and he could not pay the alleged debt.

30. Defendant told Plaintiff that the debt would be considered paid in full if Plaintiff
paid $300.00.

31. Plaintiff reluctantly agreed to make monthly payments, and reluctantly provided
Defendant with his bank account information

32. On September l?, 2010 Defendant removed $62.95 from Plaintiff’ s bank account.
A true and correct copy of Plaintiffs September bank record is attached hereto as Exhibit “D”.

33. On October l$, Defendant took out another payment of $62.95 from Plaintiffs
bank account by Defendant. A true and correct copy of Plaintiff` s October bank records is
attached hereto as Exhibit “E”.

34. Upon information and belief, Defendant sought to collect a debt from Plaintiff
despite the fact that no debt was due, and no reliable documentation was relied upon in making a
demand for payment.

35; Defendant knew that a lien cannot be placed on a motor vehicle title in the

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manner Defendant claimed it had been and that in fact, no such lien had been placed on the title
after December 10, 2009.

36. Upon information and belief, Defendant took money from Plaintiff’ s checking
account by employing deceptive and fraudulent collection tactics and practices

3?. Defendant’s actions in attempting to collect the alleged debt were harassing,

abusive and highly deceptive

CONSTRUCTION OF APPLICABLE LAW
39. The FDCPA is a strict liability statute. Tavlor v. Perrinr Landrv. deLaunav &
M, 103 F.3d 1232 (Sth Cir. 199?). “Because the Act imposes strict liability, a consumer
need not show intentional conduct by the debt collector to be entitled to damages.” Russell v.
Eguifax A.R.S., '?4 F. 3d 30 (2d Cir. 1996); see also Gearing v. Check Brokerage Corp., 233
F.3d 469 (?th Cir. 2000) (holding unintentional misrepresentation of debt collector’s legal status

violated FDCPA); Clomon v_ Jackson 988 F. 2d 1314 (2d Cir. 1993).

 

40. The FDCPA is a remedial statute, and therefore must be construed liberally in
favor of the debtor. Sprinkle v. SB&C Ltd., 472 F. Supp. 2d 1235 (W.D. Wash. 2006). The
remedial nature of the FDCPA requires that courts interpret it liberally. Clark v. Capital Credit
& Collection Services, lnc., 460 F. 3d 1162 (9th Cir. 2006). “Because the FDCPA, like the
Truth in Lending Act (TILA) 15 U.S.C §1601 et seq., is a remedial statute, it should be
construed liberally in favor of the consumer.” .iohnson v. Riddle, 305 F. 3d l107 (10th Cir.
2002)

41. The FDCPA is to be interpreted in accordance with the “least sophisticated”

consumer standard. See Jeter v. Credit Bureau. Inc.. 760 F.2d 1168 (l lth Cir. 1985); Graziano

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v. Harrison, 950 F. 2d 10']l (3“' Cir. 1991); Swanson v. Southern Oregon Credit Service. Inc.,

 

 

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869 F.2d 1222 (9th Cir. 1988). The FDCPA was not “made for the protection of experts, but for
the public - that vast multitude which includes the ignorant, the unthinking, and the credulous,
and the fact that a false statement may be obviously false to those who are trained and
experienced does not change its character, nor take away its power to deceive others less
experienced.” § 'l`he least sophisticated consumer standard serves a dual purpose in that it
ensures protection of all consumers, even naive and trusting, against deceptive collection
practices, and protects collectors against liability for bizarre or idiosyncratic interpretations of

collection notices. Clomon 988 F. 2d at 1318.

 

COUNT I
DEFENDANT VIOLATED THE
FA¥R DEBT COLLECTION PRACTICES ACT

42. ln its actions to collect a disputed debt, Defendant violated the FDCPA in one or
more of the following ways:
a. Defendant violated of the FDCPA generally;

b. Defendant violated § 1692d of the FDCPA by harassing Plaintiff with voice
messages in connection with the collection of an alleged debt;
c. Defendant violated § 1692d(5) of the FDCPA by causing a telephone to ring
repeatedly or continuously with the intent to annoy, abuse, and harass
Plaintiff;
d. Defendant violated §1692e of the FDCPA by using false, deceptive, on
misleading representations or means in connection with the collection of a

debt;
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e. Defendant violated § 1692e(2) of the FDCPA by falsely representing the
character, amount, or legal status of any debt;
f. Defendant violated § l692e(10) of the FDCPA by use of false representation

or deceptive means to collect or attempt to collect banking inforrnation;

h. Defendant violated § 1692f of the FDCPA by using unfair and
unconscionable means with Plaintiff to collect or attempt to collect a debt;

i. Defendant violated §1692f(6) of the FDCPA by threatening to repossess
Plaintif`f’s vehicle when there was no present right to do so and no intention to
do so.

j. Defendant violated § l692g(a) of the FDCPA by failing to send written
notification, within 5 days after its initial communication, advising of
Plaintiffs rights to dispute the debt or request verification of the debt;

k. By acting in an otherwise deceptive, unfair and unconscionable manner and

failing to comply with the FDCPA.

Wl-lEREFORE, Plaintiff, JAMES C. DAY, respectfully pray for a judgment as follows:

a. All actual compensatory damages suffered pursuant to 15 U.S.C. §
1692k(a)(1);
b. Statutory damages of 31,000.00 for each violation of the FDCPA pursuant
to 15 U.S.C. § l692k(a)(2)(A);
c. All reasonable attorneys’ fees, witness fees, court costs and other litigation
costs incurred by Plaintiff pursuant to l5 U.S.C. § 1693k(a)(3); and

d. Any other relief deemed appropriate by this Honorable Court.

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DEMAND FOR JURY 'I`RIAL
Pursuant to Civil Rule 38, Plaintiff hereby demands a trial by jury on all issues in this
action, and any issues relating to the amount of attorneys’ fees and litigation costs to be awarded

should Plaintiff prevail on any of her claims in this action.

RESPECTFULLY SUBMITTED,
KIMMEL & SILVERMAN, P.C

Date: le l l-i ~ll By: fsf Christopher Cornponovo
W Christopher Componovo
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